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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )      USDC No. 22-cr-89 (APM)
                                               )
Nancy Barron, defendant                        )

                                          ORDER

        Upon good cause shown in defendant’s Unopposed Motion to Continue Status Hearing,

without opposition from the United States, and other evidence in the record of this case, it shall

be and hereby is,

        ORDERED, this ____ day of _______________ , 2022, that the status hearing set by

video teleconference for September 23, 2022 at 11:30 .a.m. is hereby VACATED, and it is further

        ORDERED, that the status hearing is hereby scheduled for video teleconference for

October 7, 2022, at 1:00 p.m., and it is further,

        ORDERED, that in the interests of justice the time between September 23 and October 7,

2022, shall not be counted under the Speedy Trial Act.          2022.08.31
                                                                16:20:55
                                                                -04'00'
                               ________________________________________________
                               Hon. Amit P. Mehta, U.S. District Judge
                               United States District Court for the District of Columbia

cc: Nathan I. Silver, Esq.
    6300 Orchid Drive
    Bethesda, MD 20817-5614
    By ECF

    Justin Woodard, Esq..
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